Case: 4:22-cv-00292-MTS Doc. #: 16 Filed: 03/17/22 Page: 1 of 16 PageID #: 269




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

NIKKI STEINER MAZZOCCHIO and
ANGELA STEINER KRAUS,

                       Plaintiffs,

               v.                                               Case No. 4:22-cv-00292-MTS

       COTTER CORPORATION et al.,

                       Defendants


             NOTICE OF DEFENDANT COTTER CORPORATION (N.S.L.)’S
                          MOTION TO CONSOLIDATE

       Defendant Cotter Corporation (N.S.L.) (“Cotter”) hereby notifies the Court and all

parties that Cotter has filed a motion for pretrial consolidation of this action, Nikki Steiner

Mazzocchio and Angela Steiner Kraus v. Cotter Corp., et al., Case No. 4:22-cv-00292-MTS,

with the consolidated matters, Butler v. Mallinckrodt LLC, et al., Case No. 4:18-cv-01701-AGF

(“Butler”). Pursuant to E.D. Mo. Local Rule 4.03, Cotter filed the motion in the Butler matter,

the lowest-numbered case, and has attached a true and correct copy of Cotter’s motion and

supporting memorandum to this notice.




                                                  1
Case: 4:22-cv-00292-MTS Doc. #: 16 Filed: 03/17/22 Page: 2 of 16 PageID #: 270




     Dated: March 17, 2022         Respectfully submitted,

                                   /s/ Brian O. Watson            .
                                   RILEY SAFER HOLMES & CANCILA LLP
                                   Brian O. Watson, #68678MO
                                   Lauren E. Jaffe, #6316795IL
                                   Jennifer Steeve, #308082CA
                                   Nacenté Seabury, #67248MO
                                   70 W. Madison St., Ste. 2900
                                   Chicago, Illinois 60602
                                   (312) 471-8700 (main)
                                   (312) 471-8701 (fax)
                                   bwatson@rshc-law.com
                                   ljaffe@rshc-law.com
                                   jsteeve@rshc-law.com
                                   nseabury@rshc-law.com
                                   docketdept@rshc-law.com

                                   ATTORNEYS FOR DEFENDANT
                                   COTTER CORPORATION (N.S.L.)




                                      2
Case: 4:22-cv-00292-MTS Doc. #: 16 Filed: 03/17/22 Page: 3 of 16 PageID #: 271




                                 CERTIFICATE OF SERVICE

       I certify that on March 17, 2022, these papers were served upon all counsel of record via

the Court’s electronic filing system.

                                            Respectfully submitted,

                                            /s/ Brian O. Watson            .
                                            RILEY SAFER HOLMES & CANCILA LLP
                                            Brian O. Watson, #68678MO
                                            Lauren E. Jaffe, #6316795IL
                                            Jennifer Steeve, #308082CA
                                            Nacenté Seabury, #67248MO
                                            70 W. Madison St., Ste. 2900
                                            Chicago, Illinois 60602
                                            (312) 471-8700 (main)
                                            (312) 471-8701 (fax)
                                            bwatson@rshc-law.com
                                            ljaffe@rshc-law.com
                                            jsteeve@rshc-law.com
                                            nseabury@rshc-law.com
                                            docketdept@rshc-law.com


                                            ATTORNEYS FOR DEFENDANT
                                            COTTER CORPORATION (N.S.L.)




                                               3
Case:
Case:4:18-cv-01701-AGF
      4:22-cv-00292-MTS Doc.
                        Doc.#:
                             #: 91
                                 16 Filed:
                                     Filed:03/17/22
                                            03/17/22 Page:
                                                     Page:14of
                                                             of316
                                                                 PageID
                                                                   PageID
                                                                        #:#:
                                                                          15199
                                                                             272




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 PAMELA BUTLER, et al.,                                )
                                                       )
                    Plaintiffs,                        ) Case No. 4:18-cv-01701-AGF
        v.                                             )
                                                       ) Lead Case
 MALLINCKRODT LLC, et al.,                             )
                                                       )
                    Defendants.                        )

 MOTION TO CONSOLIDATE BY DEFENDANT COTTER CORPORATION (N.S.L.)

       Defendant Cotter Corporation (N.S.L.) (“Cotter”) respectfully moves for pretrial

consolidation of the action Nikki Steiner Mazzocchio and Angela Steiner Kraus v. Cotter Corp.,

et al., Case No. 4:22-cv-00292-MTS (“Mazzocchio”), with these consolidated matters, Butler v.

Mallinckrodt LLC, et al., Case No. 4:18-cv-01701-AGF (“Butler”). Cotter moves for

consolidation under (1) the Price-Anderson Act (“PAA”), 42 U.S.C. § 2210, et seq.; (2) Judge

Sippel’s Administrative Order Regarding Radionuclide Exposure Claims Against Mallinckrodt

LLC and/or Cotter Corporation (N.S.L.) (Oct. 15, 2018), McClurg v. Mallinckrodt LLC, et al.,

Case No. 4:12-cv-00361-AGF, ECF No. 742 (“Administrative Order”); and (3) and the recent

decision of the Eighth Circuit in In re Cotter Corporation (N.S.L.), 22 F.4th 788 (8th Cir. 2022).

See also Fed. R. Civ. P. 42; E.D. Mo. L.R. 4.03.




                                                   1
Case:
Case:4:18-cv-01701-AGF
      4:22-cv-00292-MTS Doc.
                        Doc.#:
                             #: 91
                                 16 Filed:
                                     Filed:03/17/22
                                            03/17/22 Page:
                                                     Page:25of
                                                             of316
                                                                 PageID
                                                                   PageID
                                                                        #:#:
                                                                          15200
                                                                             273




     Dated: March 17, 2022          Respectfully submitted,

                                    /s/ Brian O. Watson            .
                                    RILEY SAFER HOLMES & CANCILA LLP
                                    Brian O. Watson, #68678MO
                                    Lauren E. Jaffe, #6316795IL
                                    Jennifer Steeve, #308082CA
                                    Nacenté Seabury, #67248MO
                                    70 W. Madison St., Ste. 2900
                                    Chicago, Illinois 60602
                                    (312) 471-8700 (main)
                                    (312) 471-8701 (fax)
                                    bwatson@rshc-law.com
                                    ljaffe@rshc-law.com
                                    jsteeve@rshc-law.com
                                    nseabury@rshc-law.com
                                    docketdept@rshc-law.com

                                    ATTORNEYS FOR DEFENDANT
                                    COTTER CORPORATION (N.S.L.)




                                       2
Case:
Case:4:18-cv-01701-AGF
      4:22-cv-00292-MTS Doc.
                        Doc.#:
                             #: 91
                                 16 Filed:
                                     Filed:03/17/22
                                            03/17/22 Page:
                                                     Page:36of
                                                             of316
                                                                 PageID
                                                                   PageID
                                                                        #:#:
                                                                          15201
                                                                             274




                                 CERTIFICATE OF SERVICE

       I certify that on March 17, 2022, these papers were served upon all counsel of record via

the Court’s electronic filing system.



                                            Respectfully submitted,

                                            /s/ Brian O. Watson            .
                                            RILEY SAFER HOLMES & CANCILA LLP
                                            Brian O. Watson, #68678MO
                                            Lauren E. Jaffe, #6316795IL
                                            Jennifer Steeve, #308082CA
                                            Nacenté Seabury, #67248MO
                                            70 W. Madison St., Ste. 2900
                                            Chicago, Illinois 60602
                                            (312) 471-8700 (main)
                                            (312) 471-8701 (fax)
                                            bwatson@rshc-law.com
                                            ljaffe@rshc-law.com
                                            jsteeve@rshc-law.com
                                            nseabury@rshc-law.com
                                            docketdept@rshc-law.com


                                            ATTORNEYS FOR DEFENDANT
                                            COTTER CORPORATION (N.S.L.)




                                               3
Case:
 Case:4:18-cv-01701-AGF
       4:22-cv-00292-MTS Doc.
                          Doc.#:#:92
                                   16 Filed:
                                       Filed:03/17/22
                                              03/17/22 Page:
                                                        Page:17ofof10
                                                                    16PageID
                                                                       PageID#:#:15202
                                                                                  275




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

 PAMELA BUTLER, et al.,                       )
                                              )
                 Plaintiffs,                  ) Case No. 4:18-cv-01701-AGF
       v.                                     )
                                              ) Lead Case
 MALLINCKRODT LLC, et al.,                    )
                                              )
                 Defendants.                  )




             DEFENDANT COTTER CORPORATION (N.S.L.)’S
        MEMORANDUM IN SUPPORT OF ITS MOTION TO CONSOLIDATE




                                                RILEY SAFER HOLMES & CANCILA LLP
                                                Brian O. Watson, #68678MO
                                                Jennifer Steeve, #308082CA
                                                Nacenté Seabury, #67248MO
                                                70 W. Madison St., Ste. 2900
                                                Chicago, Illinois 60602
                                                (312) 471-8700 (main)
                                                (312) 471-8701 (fax)
                                                bwatson@rshc-law.com
                                                jsteeve@rshc-law.com
                                                nseabury@rshc-law.com
                                                docketdept@rshc-law.com

                                                ATTORNEYS FOR DEFENDANT
                                                COTTER CORPORATION (N.S.L.)




                                          1
Case:
 Case:4:18-cv-01701-AGF
       4:22-cv-00292-MTS Doc.
                          Doc.#:#:92
                                   16 Filed:
                                       Filed:03/17/22
                                              03/17/22 Page:
                                                        Page:28ofof10
                                                                    16PageID
                                                                       PageID#:#:15203
                                                                                  276




I.     INTRODUCTION

       The Mazzocchio case—Nikki Steiner Mazzochio and Angela Steiner Kraus v. Cotter

Corp., et al., Case No. 4:22-cv-00292-MTS—should be consolidated into this matter—Butler v.

Mallinckrodt LLC, et al., Case No. 4:18-cv-01701-AGF (“Butler”)—because all claims arise

from the same alleged nuclear incident. The Mazzocchio plaintiffs assert bodily injury arising

from the radioactive properties of Manhattan Project nuclear materials. The Eighth Circuit

recently confirmed that such claims arise from an alleged “nuclear incident” and thus invoke the

federal jurisdiction and consolidation provisions of the Price-Anderson Act. In re Cotter

Corporation (N.S.L.), 22 F.4th 788, 793–94 (8th Cir. 2022). The alleged contamination of

Coldwater Creek arising from Mallinckrodt, Cotter, and others’ handling of Manhattan Project

nuclear materials is the nuclear incident giving rise to all claims at issue. Thus, the Mazzocchio

and Butler cases should be consolidated.

II.    FACTS

       Plaintiffs filed this action against Cotter, Commonwealth Edison Company, DJR

Holdings, and the St. Louis Airport Authority. Like its predecessors, the complaint alleges

damages arising from the defendants’ “processing, handling, and storing radioactive materials in

the St. Louis area,” starting with Mallinckrodt’s processing of “special highly concentrated

uranium” for the Manhattan Project in downtown St. Louis. Pls.’ Pet. ¶ 2, 4:22-cv-00292, ECF

No. 1-1. As relevant to Cotter, the complaint focuses on handling of Manhattan Project

radioactive materials at a site on Latty Avenue in Hazelwood, Missouri (“Latty Avenue”). Id.

¶ 3. Plaintiffs allege that the radioactive materials have contaminated Coldwater Creek,

Plaintiffs resided near Coldwater Creek, and Plaintiffs contracted multiple myeloma as a result.

Id. ¶¶ 1–8, 21. Many of Plaintiffs’ allegations appear to have been copied and pasted from the

allegations of the McClurg, Butler, and Banks complaints. See, e.g., McClurg Third Amend.

                                                 2
Case:
 Case:4:18-cv-01701-AGF
       4:22-cv-00292-MTS Doc.
                          Doc.#:#:92
                                   16 Filed:
                                       Filed:03/17/22
                                              03/17/22 Page:
                                                        Page:39ofof10
                                                                    16PageID
                                                                       PageID#:#:15204
                                                                                  277




Compl. ¶¶ 1, 15–18, 26, 29–30, 58–60, 83, ECF No. 592; Butler Compl. ¶¶ 1, 16, 17, 30, 41, 59,

ECF No. 1; Banks Second Amend. Compl. ¶¶ 1–5, 12–17, 53–69, ECF No. 12.

III.   LEGAL ARGUMENT

       A.      This Is a Price-Anderson Act Case.

       As recently affirmed in this Circuit by In re Cotter, claims for personal injury or property

damage arising from the Manhattan Project nuclear materials stored at Latty Avenue between

1969 and 1973 fall within the ambit of the Price-Anderson Act (“PAA”), 42 U.S.C. § 2210, et

seq. In re Cotter, 22 F.4th at 793–96.

       The PAA provides for removal to federal court and “arising under” original federal

jurisdiction for claims “arising out of or resulting from a nuclear incident.” 42 U.SC.

§ 2210(n)(2). A “nuclear incident” broadly includes “any occurrence, including an extraordinary

nuclear occurrence within the United States causing . . . bodily injury, sickness, disease, or death,

or loss of or damage to property, or for loss of use of property, arising out of or resulting from

the radioactive . . . properties of source, special nuclear, or byproduct material.” 42 U.S.C.

§ 2014(q).

       The PAA’s “unusual pre-emption provision . . . not only gives federal courts jurisdiction

over tort actions arising out of nuclear accidents but also expressly provides for removal of such

actions brought in state court even when they assert only state-law claims.” Beneficial Nat’l

Bank v. Anderson, 539 U.S. 1, 6 (2003). In fact, the Supreme Court has underscored that the

“pre-emptive force” of the PAA “is so extraordinary that it converts an ordinary state common-

law complaint into one stating a federal claim.” El Paso Nat. Gas Co. v. Neztsosie, 526 U.S.

473, 484 n.6 (1999).

       Here, Plaintiffs purport to allege only state-law claims—specifically for trespass (Pls.’

Compl., Count I, ¶¶ 72–90), temporary and permanent nuisance (id., Counts II-III, ¶¶ 91–112),

                                                  3
Case:
Case:4:18-cv-01701-AGF
      4:22-cv-00292-MTS Doc.
                        Doc.#:
                             #: 92
                                 16 Filed:
                                     Filed:03/17/22
                                            03/17/22 Page:
                                                     Page:410
                                                            ofof
                                                              1016
                                                                 PageID
                                                                   PageID
                                                                        #:#:
                                                                          15205
                                                                             278




negligence (id., Count IV, ¶¶ 113–127), negligence per se (id., Count V ¶¶ 128–135), and strict

liability (id., Count VI, ¶¶ 136–143). Plaintiffs expressly disavow the PAA. Id. ¶¶ 11–20.

Nevertheless, Plaintiffs cannot avoid federal jurisdiction. Here, the artful pleading doctrine

applies—and not the well-pleaded complaint rule—because the PAA has “such ‘extraordinary’

preemptive force that state-law claims coming within the scope of the federal statute are

transformed, for jurisdictional purposes, into federal claims.” Neztsosie, 526 U.S. at 484 n.6.

Thus, plaintiff “may not defeat federal subject-matter jurisdiction by ‘artfully pleading’ his

complaint as if it arises under state law where the plaintiff’s suit is, in essence, based on federal

law,” and “a court is obligated to construe the complaint as raising a federal claim and therefore

‘arising under’ federal law.” Sullivan v. Am. Airlines, Inc., 424 F.3d 267, 271–72 (2d Cir. 2005).

       As unequivocally affirmed by the Eighth Circuit, “the PAA provides federal question

jurisdiction over the claims against Cotter.” In re Cotter, 22 F.4th at 796. That holding applies

in full force here, especially since Plaintiffs have copied and pasted their primary allegations

from the Banks litigation underlying In re Cotter.

       B.      Judge Sippel’s Administrative Order Supports Consolidation.

       On October 15, 2018, Chief Judge Rodney Sippel issued an Administrative Order to

address more than 500 lawsuits that had been filed against Mallinckrodt and Cotter alleging

damages from Manhattan Project radioactive materials processed by Mallinckrodt starting in the

1940s and later handled by Cotter from 1969 to 1973. See Administrative Order Regarding

Radionuclide Exposure Claims Against Mallinckrodt LLC and/or Cotter Corporation (N.S.L.)

(Oct. 15, 2018), McClurg v. Mallinckrodt LLC, et al., Case No. 4:12-cv-00361-AGF, ECF No.

742 (“Administrative Order”).

       In the Administrative Order, Judge Sippel ordered the following “[t]o assure orderly and

efficient proceedings” with respect to these claims:

                                                  4
Case:
Case:4:18-cv-01701-AGF
      4:22-cv-00292-MTS Doc.
                        Doc.#:
                             #: 92
                                 16 Filed:
                                     Filed:03/17/22
                                            03/17/22 Page:
                                                     Page:511
                                                            ofof
                                                              1016
                                                                 PageID
                                                                   PageID
                                                                        #:#:
                                                                          15206
                                                                             279




       [C]urrent and future cases against Cotter and/or Mallinckrodt filed by Plaintiffs
       whose cases have not heretofore been a part of the consolidated court proceedings
       alleging Radionuclide Exposure Claim(s) against Cotter and/or Mallinckrodt
       arising from, related to, or in any way pertaining to any alleged exposure to
       ionizing radiation and/or radionuclides arising from production of uranium for the
       United States by Mallinckrodt and allegedly released by Mallinckrodt, Cotter
       and/or other Persons or Entities in the St. Louis area after 1941, including any
       derivative or future claims, shall, on proper motion of a party and Order of
       Judge Fleissig, be transferred to the Hon. Audrey G. Fleissig for consolidated
       pretrial and discovery proceedings.

Administrative Order at 1–2, ECF No. 742 (emphasis added).

       Under this Administrative Order, more than 500 separate complaints alleging similar

claims against Mallinckrodt and Cotter were consolidated for pretrial purposes before Judge

Fleissig in the lead case of McClurg v. Mallinckrodt LLC, et al., Case No. 4:12-cv-00361-AGF.

On November 13, 2018, this Court issued a subsequent consolidation order under the

Administrative Order, consolidating the four Butler cases into McClurg, with the lead caption of

Butler v. Mallinckrodt LLC, et al., Case No. 4:18-cv-01701-AGF. Other than the Butler cases,

the remaining McClurg cases have since been dismissed under a Master Settlement Agreement.

        C.     In re Cotter—the Eighth Circuit Decision in Banks—Supports Consolidation.

       In the related Banks action, the district court initially rejected federal jurisdiction under

the PAA over the plaintiffs’ similar personal injury and property damage claims against Cotter—

who had filed third-party claims against Mallinckrodt—and remanded the claims back to state

court. Cotter timely appealed. On January 7, 2022, the Eighth Circuit issued its opinion and

judgment reversing the district court’s remand order, and reinstated federal jurisdiction under the

PAA in the Eastern District of Missouri. See In re Cotter, 22 F.4th at 788.

       The Eighth Circuit rejected the district court’s rationale that the PAA did not apply

because plaintiffs alleged that Cotter did not have a license or indemnity agreement relevant to

the radioactive materials at issue: “Contrary to the district court’s ruling, the PAA provides



                                                  5
Case:
Case:4:18-cv-01701-AGF
      4:22-cv-00292-MTS Doc.
                        Doc.#:
                             #: 92
                                 16 Filed:
                                     Filed:03/17/22
                                            03/17/22 Page:
                                                     Page:612
                                                            ofof
                                                              1016
                                                                 PageID
                                                                   PageID
                                                                        #:#:
                                                                          15207
                                                                             280




federal question jurisdiction over all ‘nuclear incidents,’ regardless of whether the defendant had

an applicable license or indemnity agreement. The text and history of the PAA propel this

conclusion.” Id. at 793 (citations omitted). The Eighth Circuit applied the “plain meaning” of

the PAA’s definition of “nuclear incident”: it “means something that takes place within the

United States, causing bodily injury or property damage, and arising out of the ‘properties of

source, special nuclear, or byproduct material,’ 42 U.S.C. § 2014(q). This definition is ‘facially

quite broad’ and renders the PAA’s jurisdictional grant equally broad as a result.” Id. at 794. In

short, “the PAA applies broadly to any event causing bodily or property damage from nuclear

material.” Id. at 795. The Eighth Circuit thus confirmed that the Banks plaintiffs’ claims arose

from a “nuclear incident”—indeed, the same alleged nuclear incident giving rise both to the

Butler matters and this matter.1

       In re Cotter also acknowledged the Congressional purpose behind the PAA’s 1988

amendments to broaden the scope of federal jurisdiction over claims arising from any nuclear

incident. The Court specifically identified consolidation as a key benefit of the PAA designed by

Congress for claims arising from the same nuclear incident. Id. at 794.

       D.      Consolidation Here Effects the Congressional Intent Behind the PAA.

       The 1988 amendments to the Price-Anderson Act (“PAA”), 42 U.S.C. § 2210, et seq.,

provide for and encourage “the consolidation of claims arising out of any nuclear incident,” such

as the allegations here, “in federal district court.” In re Cotter, 22 F.4th at 794. Specifically,

“[f]ollowing any nuclear incident, the chief judge of the United States district court having

jurisdiction . . . with respect to public liability actions may appoint a special caseload

management panel . . . to coordinate and assign . . . cases arising out of the nuclear incident.” 42


       1
        In essence, the Eighth Circuit reached the same conclusion that this Court did nearly a
decade ago. See McClurg v. MI Holdings, Inc., 933 F. Supp. 2d 1179 (E.D. Mo. 2013).

                                                  6
Case:
Case:4:18-cv-01701-AGF
      4:22-cv-00292-MTS Doc.
                        Doc.#:
                             #: 92
                                 16 Filed:
                                     Filed:03/17/22
                                            03/17/22 Page:
                                                     Page:713
                                                            ofof
                                                              1016
                                                                 PageID
                                                                   PageID
                                                                        #:#:
                                                                          15208
                                                                             281




U.S.C. § 2210(n)(3)(A). Under that provision, the district court may “consolidate related or

similar claims for hearing or trial” and “assign cases to a particular judge.” 42 U.S.C. §

2210(n)(3)(C). Therefore, the PAA provides for the consolidation of this case, which is based on

the same nuclear incident, with the Butler cases.

       Since In re Cotter, there should be no doubt that all claims alleging bodily injury or

property damage from Cotter’s handling of Manhattan Project radioactive materials at Latty

Avenue should be consolidated for pretrial purposes in the Eastern District of Missouri.

Consolidation effects Congressional intent driving the PAA’s 1988 amendments to broaden

federal jurisdiction. According to the Supreme Court, Congress expanded federal jurisdiction

under the PAA in large part to consolidate claims arising from a nuclear incident. El Paso Nat.

Gas Co. v. Neztsosie, 526 U.S. 473, 486–87 (1999). Congress designed this policy to “avoid the

inefficiencies resulting from duplicative determinations of similar issues in multiple jurisdictions

that may occur in the absence of consolidation.” Id. The PAA’s 1988 amendments

       ensure[] that every claim originating in a single nuclear incident may be
       considered with other similar claims. Where, as here, an incident results in
       multiple claims with cases filed in several counties in several states, consolidation
       in federal court serves to reduce uncertainty, expenditure of resources in dealing
       with duplicative issues, and the possibility of inconsistent outcomes.

In re TMI Litig. Cases Consol. II, 940 F.2d 832, 861 (3d Cir. 1991); see also O’Conner v.

Commonwealth Edison Co., 13 F.3d 1090, 1102 (7th Cir. 1994) (“The experience with claims

following the [Three Mile Island] accident demonstrates the advantages of the ability to

consolidate claims after the nuclear incident” (quoting S.Rep. No. 218 at 13, 100th Cong., 1st

Sess. 2 (1987), reprinted in 1988 U.S.C.C.A.N. 1424)); Kerr-McGee Corp. v. Farley, 115 F.3d

1498, 1504 (10th Cir. 1997) (“this jurisdictional framework was intended to prevent inefficient

fragmentation and inconsistent resolution of nuclear tort claims by providing for their

consolidation in federal court”).


                                                 7
Case:
Case:4:18-cv-01701-AGF
      4:22-cv-00292-MTS Doc.
                        Doc.#:
                             #: 92
                                 16 Filed:
                                     Filed:03/17/22
                                            03/17/22 Page:
                                                     Page:814
                                                            ofof
                                                              1016
                                                                 PageID
                                                                   PageID
                                                                        #:#:
                                                                          15209
                                                                             282




       The long and difficult path of the related Banks case—being bounced between state and

federal court, the anti-PAA decisions driving long appeals processes, and the general confusion

surrounding the application of the PAA before In re Cotter—illustrates the wisdom of Congress

in desiring federal consolidation for nuclear incident claims. The state and federal PAA rulings

in Banks and Strong v. Republic Services, Inc., 283 F. Supp. 3d 759 (E.D. Mo. 2017)—ultimately

reversed and rejected by the Eighth Circuit—exemplify what happens when PAA cases are

distributed out across disparate jurisdictions and courts.

       In contrast, the more than 500 cases consolidated before this Court were efficiently

managed, with key PAA rulings affirmed on appeal (see Halbrook v. Mallinckrodt, LLC, 888

F.3d 971 (8th Cir. 2018)), and ultimately resolved under a Master Settlement Agreement. In

McClurg, this Court’s early rulings on the PAA appropriately grappled with the Act’s purpose

and nuance and led to early preemption under the PAA, which cabined the claims to those

allowable under the PAA, applied the established exposure levels in PAA cases, and ultimately

led to efficient disposition of 500 plus cases. This Court also used consolidation to impose a

pleading standard, develop a tailored plaintiff’s questionnaire, and establish case management

and discovery orders—all of which would apply directly to Banks. In other words, the Court has

spent a decade developing a roadmap for these claims and is best situated to secure the just,

speedy, and inexpensive determination of the Banks action.

       Meanwhile, the other nuclear incident claims still pending continue to languish in

jurisdictional fights. See Kitchin, et al. v. Bridgeton Landfill, et al., Case No. 4:18-cv-00672-

CDP (with a petition for writ of certiorari recently rejected by the U.S. Supreme Court, Case No.




                                                  8
Case:
Case:4:18-cv-01701-AGF
      4:22-cv-00292-MTS Doc.
                        Doc.#:
                             #: 92
                                 16 Filed:
                                     Filed:03/17/22
                                            03/17/22 Page:
                                                     Page:915
                                                            ofof
                                                              1016
                                                                 PageID
                                                                   PageID
                                                                        #:#:
                                                                          15210
                                                                             283




21-683); Dailey, et al. v. Bridgeton Landfill, et al., Case No. 4-22-cv-00116-CDP (re-removed

Jan. 28, 2022).2

       Thus, this Court is uniquely situated to effectively manage Mazzocchio through

consolidation with Butler.

IV.    CONCLUSION

       Cotter requests that this Court consolidate the Mazzocchio matter into Butler. This

Court’s prior roadmap from the McClurg cases will provide the most effective and efficient

manner of managing these cases and expediting their resolution together.



       Dated: March 17, 2022                 Respectfully submitted,

                                             /s/ Brian O. Watson            .
                                             RILEY SAFER HOLMES & CANCILA LLP
                                             Brian O. Watson, #68678MO
                                             Lauren E. Jaffe, #6316795IL
                                             Jennifer Steeve, #308082CA
                                             Nacenté Seabury, #67248MO
                                             70 W. Madison St., Ste. 2900
                                             Chicago, Illinois 60602
                                             (312) 471-8700 (main)
                                             (312) 471-8701 (fax)
                                             bwatson@rshc-law.com
                                             ljaffe@rshc-law.com
                                             jsteeve@rshc-law.com
                                             nseabury@rshc-law.com
                                             docketdept@rshc-law.com

                                             ATTORNEYS FOR DEFENDANT
                                             COTTER CORPORATION (N.S.L.)




       2
          Cotter has concurrently moved for consolidation of Banks and may also move for
consolidation of the Kitchin and Dailey actions once jurisdiction is undisputed in those matters;
the parties are still meeting and conferring regarding Kitchin and Dailey.

                                                9
Case:
 Case:4:18-cv-01701-AGF
       4:22-cv-00292-MTS Doc.
                          Doc.#:#:92
                                   16 Filed:
                                       Filed:03/17/22
                                              03/17/22 Page:
                                                        Page:10
                                                              16ofof10
                                                                     16PageID
                                                                        PageID#:#:15211
                                                                                   284




                                 CERTIFICATE OF SERVICE

       I certify that on March 17, 2022, these papers were served upon all counsel of record via

the Court’s electronic filing system.

                                            Respectfully submitted,

                                            /s/ Brian O. Watson            .
                                            RILEY SAFER HOLMES & CANCILA LLP
                                            Brian O. Watson, #68678MO
                                            Lauren E. Jaffe, #6316795IL
                                            Jennifer Steeve, #308082CA
                                            Nacenté Seabury, #67248MO
                                            70 W. Madison St., Ste. 2900
                                            Chicago, Illinois 60602
                                            (312) 471-8700 (main)
                                            (312) 471-8701 (fax)
                                            bwatson@rshc-law.com
                                            ljaffe@rshc-law.com
                                            jsteeve@rshc-law.com
                                            nseabury@rshc-law.com
                                            docketdept@rshc-law.com


                                            ATTORNEYS FOR DEFENDANT
                                            COTTER CORPORATION (N.S.L.)




                                               10
